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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

             JUAN MANUEL SANTANA                      :    MOTION TO VACATE
             BAEZ,                                    :    28 U.S.C. § 2255
                 Movant,                              :
                                                      :    CRIMINAL INDICTMENT NO.
                   v.                                 :    1:13-CR-0280-WSD-JFK-4
                                                      :
             UNITED STATES OF AMERICA,                :    CIVIL FILE NO.
                 Respondent.                          :    1:16-CV-2771-WSD-JFK

                               UNITED STATES MAGISTRATE JUDGE’S
                              FINAL REPORT AND RECOMMENDATION

                   Movant, Juan Manuel Santana Baez, proceeding pro se, seeks via 28 U.S.C.

             § 2255 to challenge the constitutionality of his conviction and sentence entered in this

             Court under the above criminal docket number. The matter is before the Court for

             preliminary review of Movant’s § 2255 motion [238]. Rule 4(b) requires the Court to

             order summary dismissal of a § 2255 motion “[i]f it plainly appears from the motion,

             any attached exhibits, and the record of prior proceedings that the moving party is not

             entitled to relief[.]” Rules Governing Section 2255 Proceedings, Rule 4(b). For the

             reasons discussed below, it is recommended that Movant’s § 2255 motion be dismissed

             as untimely.1

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                   The opportunity to object to this recommendation provides Movant with a fair
             opportunity to present any matter that requires a different disposition. See Day v.
             McDonough, 547 U.S. 198, 209-10 (2006) (holding “that district courts are permitted,



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             I.     Discussion

                    Movant pleaded guilty to conspiracy to distribute and possess with intent to

             distribute cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(A)(ii), a

             crime subject to up to a life term of imprisonment. (Indictment at 1-2, ECF No. 1;

             Guilty Plea and Plea Agreement at 3, ECF No. 176-1). By judgment entered on

             December 15, 2014, the Court imposed on Movant a seventy-month term of

             imprisonment. (J., ECF No. 219). The record shows no direct appeal. On July 25,

             2016, Movant filed his current § 2255 motion.2 (Mot. to Vacate, ECF No. 238).

             Movant asserts that he is entitled to a two-level role reduction based on the November

             15, 2015, sentencing guidelines amendment that amended the commentary to U.S.S.G.




             but not obliged, to consider, sua sponte, the timeliness of a state prisoner’s habeas
             petition” but noting that “before acting on its own initiative, a court must accord the
             parties fair notice and an opportunity to present their positions”); Vazquez v. Sec’y,
             Fla. Dep’t of Corr., _ F.3d _, _, 2016 WL 3568117, at *3 (11th Cir. July 1, 2016)
             (clarifying that district court abuses its discretion to consider timeliness when the state
             has “deliberately steered” the court away from the question (quoting Wood v. Milyard,
             _ U.S. _, _, 132 S. Ct. 1826, 1835 (2012)) (internal quotation marks omitted)).
                    2
                    Generally, a prisoner filing is deemed filed on the day that the prisoner
             delivered it for mailing to prison officials, which, absent evidence to the contrary, is
             presumed to be the date on which he signed it. Day v. Hall, 528 F.3d 1315, 1318 (11th
             Cir. 2008) (citing Houston v. Lack, 487 U.S. 266, 276 (1988), and Washington v.
             United States, 243 F.3d 1299, 1301 (11th Cir. 2001)).

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             § 3B1.2.3 Movant asserts that his § 2255 motion was timely filed within one-year of

             the amendment. (Mot. to Vacate at 1).4

                    A § 2255 motion is subject to a one-year statute of limitations that runs from the

             latest of,

                    (1) the date on which the judgment of conviction becomes final;

                    (2) the date on which the impediment to making a motion created by
                    governmental action in violation of the Constitution or laws of the United


                    3
                   Amendment 794 is a clarifying amendment that amended the commentary to
             § 3B1.2 and provided a non-exhaustive list of factors to be considered for a minor- or
             minimal-participant role reduction. See U.S.S.G. 3B1.2, Application Notes 3.(C);
             United States v. Casas, 632 F. App’x 1003, 1004 (11th Cir. 2015) (discussing
             Amendment 794 as a clarifying amendment); United States v. Trintidia, No. CIV-16-
             944-D, 2016 WL 4468263, at *1 (W.D. Okla. Aug. 24, 2016) (discussing Amendment
             794).

                    Generally, a request for a sentence reduction based on a guidelines amendment
             should be brought under 18 U.S.C. § 3582(c)(2). See United States v. Armstrong, 347
             F.3d 905, 907 (11th Cir. 2003) (discussing § 3582(c)(2)). The Court does not construe
             this action as being brought under § 3582 for two reasons. Movant is aware of § 3582
             and nonetheless chose to bring this action under § 2255. (See Mot. to Reduce
             Sentence, ECF No. 232; Mot. to Vacate). Further, amendment 794 is not listed as a
             covered amendment in U.S.S.G § 1B1.10(d) and, thus, a reduction would be against
             the guidelines policy statement on guidelines-amendment reductions. See United
             States v. Garcia, No. CR-98-2073-FVS, 2016 WL 4521690, at *2 (E.D. Wash. Aug.
             29, 2016).
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                     Movant also states that his motion should not be construed as successive. (Mot.
             to Vacate at 1). However, there is no indication in the record that Movant previously
             filed a § 2255 motion.

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                   States is removed, if the movant was prevented from making a motion by
                   such governmental action;

                   (3) the date on which the right asserted was initially recognized by the
                   Supreme Court, if that right has been newly recognized by the Supreme
                   Court and made retroactively applicable to cases on collateral review; or

                   (4) the date on which the facts supporting the claim or claims presented
                   could have been discovered through the exercise of due diligence.

             28 U.S.C. § 2255(f). The one-year statute of limitations is subject to equitable tolling

             if the petitioner “shows (1) that he has been pursuing his rights diligently, and (2) that

             some extraordinary circumstance stood in his way and prevented timely filing.” San

             Martin v. McNeil, 633 F.3d 1257, 1267 (11th Cir. 2011) (quoting Holland v. Florida,

             560 U.S. 631, _, 130 S. Ct. 2549, 2562 (2010)) (internal quotation marks omitted). In

             addition, under the fundamental miscarriage of justice standard, actual innocence

             provides an exception to the limitations period, “but only when the petitioner presents

             new evidence that ‘shows it is more likely than not that no reasonable juror would have

             convicted the petitioner.’” Gore v. Crews, 720 F.3d 811, 817 (11th Cir. 2013) (quoting

             McQuiggin v. Perkins, _ U.S. _, _, 133 S. Ct. 1924, 1933 (2013)); see also Berry v.

             United States, 468 F. App’x 924, 925 (11th Cir. 2012) (“[A]ctual innocence of the

             offense may be shown to satisfy the fundamental miscarriage of justice standard.”).




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                   Because Movant did not directly appeal, his federal conviction became final on

             December 29, 2014, fourteen days after the December 15 entry of judgment. See Fed.

             R. App. P. 4(b)(1)(A). Under § 2255(f)(1), Movant’s § 2255 motion was due by

             December 29, 2015, and his July 2016 motion is untimely by over six months. Section

             2255(f)(2) is inapplicable because Movant alleges no unlawful government

             impediment that prevented him from filing a § 2255 motion earlier. Section 2255(f)(3)

             is unhelpful because Movant presents no right newly recognized by the United States

             Supreme Court.      Section 2255(f)(4) also is inapplicable because a guidelines

             amendment does not qualify as a supporting fact to a claim for relief. See Madaio v.

             United States, 397 F. App’x 568, 570 (11th Cir. 2010) (“Since Section 2255(f)(4) is

             predicated on the date that ‘facts supporting the claim’ could have been discovered, the

             discovery of a new court legal opinion, as opposed to new factual information affecting

             the claim, does not trigger the limitations period.” (emphasis in original) (quoting §

             2255(f)(4))); Thomas v. United States, No. 2:09-CR-00277-RDP-JE, 2014 WL

             4715861, at *4 (N.D. Ala. Sept. 22, 2014) (“The limitations period of § 2255(f)(4) is

             triggered by the actual or imputed discovery of the important facts underlying a claim,

             not the defendant’s recognition of the legal significance of those facts.”); Seals v.

             United States, No. 08-CV-80, 2009 WL 1108482, at *2 (S.D. Ill. Apr. 24, 2009)

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             (stating that a guidelines amendment is not a fact in that “[t]he Amendment is not

             ‘subject to proof or disproof,’ but is rather a substantive legal change” (citation not

             provided)).

                   Further, Movant does not show that he is entitled to equitable tolling. See

             United States v. Snyder, No. 1:99-CR-11, 2008 WL 370663, at *2 (N.D. Ind. Feb. 11,

             2008) (“[The movant] cites no authority, and this court has found none to support the

             proposition that changes or amendments to existing sentencing guidelines constitutes

             an extraordinary circumstance thereby justifying equitable tolling of the AEDPA

             statute of limitations.”). The actual innocence exception also is unhelpful because

             Movant’s sentence was below the statutory maximum for his crime, and Movant shows

             no fundamental miscarriage of justice.5 See Spencer v. United States, 773 F.3d 1132,

             1139 (11th Cir. 2014) (“When a federal prisoner, sentenced below the statutory

             maximum, complains of a sentencing error and does not prove either actual innocence

             of his crime or the vacatur of a prior conviction, the prisoner cannot satisfy the

             demanding standard that a sentencing error resulted in a complete miscarriage of




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                     Movant admitted that he was guilty of conspiring to distribute and possess with
             intent to distribute cocaine, (see J.), and admits in his § 2255 motion that he installed
             secret compartments in vehicles, (Mot. to Vacate at 3).

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             justice.”), cert. denied, _ U.S. _, 135 S. Ct. 2836 (2015);6 Berry, 468 F. App’x at 926

             (“The actual innocence exception has no application to Berry’s sentencing claim that

             he was wrongly sentenced as a career offender.”); Burke v. United States, 152 F.3d

             1329, 1332 (11th Cir. 1998) (holding that challenge based on guidelines clarifying

             amendment did not show a complete miscarriage of justice and stating that “a claim

             that the sentence imposed is contrary to a post-sentencing clarifying amendment is a

             non-constitutional issue that does not provide a basis for collateral relief in the absence

             of a complete miscarriage of justice”). Movant’s § 2255 motion must be dismissed as

             untimely.

                   Further, Movant’s claim is not cognizable under § 2255. “An error that is not

             jurisdictional or constitutional will form the basis for § 2255 relief only where ‘the

             claimed error constituted a fundamental defect which inherently results in a complete

             miscarriage of justice.’” Ayuso v. United States, 361 F. App’x 988, 991 (11th Cir.

             2010) (quoting United States v. Addonizio, 442 U.S. 178, 185 (1979)). Generally, a

             “sentencing claim is not cognizable under § 2255 because it is not a constitutional error



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                     “[A]ny miscalculation of the guideline range cannot be a complete miscarriage
             of justice because the guidelines are advisory. If the district court were to resentence
             [the movant], the district court could impose the same sentence again.” Spencer, 773
             F.3d at 1140. The court also could impose a longer sentence. Id.

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             and does not rise to the level of a miscarriage of justice.” Id.; see also Spencer, 773

             F.3d at 1135 (“Spencer cannot collaterally attack his sentence based on a

             misapplication of the advisory guidelines.”).

             II.     Certificate of Appealability (“COA”)

                     Pursuant to Rule 11 of the Rules Governing § 2255 Cases, “[t]he district court

             must issue or deny a certificate of appealability when it enters a final order adverse to

             the applicant. . . . If the court issues a certificate, the court must state the specific issue

             or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).” Section

             2253(c)(2) states that a certificate of appealability may issue “only if the applicant has

             made a substantial showing of the denial of a constitutional right.”

                     “When the district court denies a habeas petition on procedural grounds
                     without reaching the prisoner’s underlying constitutional claim,” . . . a
                     certificate of appealability should issue only when the prisoner shows
                     both “that jurists of reason would find it debatable whether the petition
                     states a valid claim of the denial of a constitutional right and that jurists
                     of reason would find it debatable whether the district court was correct in
                     its procedural ruling.”

             Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (quoting Slack v. McDaniel, 529

             U.S. 473, 484 (2000)).

                     The undersigned recommends that a COA should be denied because

             untimeliness is not debatable. If the Court adopts this recommendation and denies a

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             COA, Movant is advised that he “may not appeal the denial but may seek a certificate

             from the court of appeals under Federal Rule of Appellate Procedure 22.” Rule 11(a),

             Rules Governing Section 2255 Proceedings for the United States District Courts.

             III.    Conclusion

                     For the reasons stated above,

                     IT IS RECOMMENDED that Movant’s § 2255 motion [238] be DISMISSED

             as untimely and that a COA be DENIED.

                     The Clerk is DIRECTED to withdraw the reference of the § 2255 motion to the

             Magistrate Judge.

                     IT IS SO RECOMMENDED and DIRECTED, this 1st day of September,

             2016.




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